08-01789-cgm        Doc 14604      Filed 12/13/16 Entered 12/13/16 11:21:42             Main Document
                                              Pg 1 of 7



 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

  SECURITIES INVESTOR PROTECTION                             Adv. Pro. No. 08-01789 (SMB)
  CORPORATION,
                                                             SIPA LIQUIDATION
                   Plaintiff,
                                                             (Substantively Consolidated)
             v.
  BERNARD L. MADOFF INVESTMENT
  SECURITIES LLC,

                   Defendant.

  In re:

  BERNARD L. MADOFF,

                   Debtor.

  IRVING H. PICARD, Trustee for the
  Liquidation of Bernard L. Madoff Investment
  Securities LLC,                                            FIRST AMENDED
                                                             CASE MANAGEMENT PLAN
                   Plaintiff,
                                                             Adv. Pro. No. 10-05286 (SMB)
                   v.

  LEGACY CAPITAL LTD. and KHRONOS
  LLC,

                   Defendants.



           Plaintiff Irving H. Picard (the “Trustee”), as trustee for the substantively consolidated

 liquidation of the business of Bernard L. Madoff Investment Securities LLC under the Securities

 Investor Protection Act, 15 U.S.C. § 78aaa–lll, and the estate of Bernard L. Madoff individually,

 by and through his undersigned counsel, and defendant Legacy Capital Ltd. (“Legacy Capital” or

 the “Defendant”) by and through its undersigned counsel, hereby submit the following Proposed
08-01789-cgm        Doc 14604        Filed 12/13/16 Entered 12/13/16 11:21:42                  Main Document
                                                Pg 2 of 7


 First Amended Case Management Plan, pursuant to Federal Rules of Civil Procedure 16 and 26,

 applicable under the Federal Rules of Bankruptcy Procedure 7016 and 7026.1

         1.       Relevant Procedural History.

                  a.      On July 2, 2015, the Trustee filed an amended complaint (the “Amended

 Complaint”) against the Defendants.

                  b.      On July 30, 2015, the Defendant moved to dismiss the Amended

 Complaint, and the motion was heard on October 28, 2015.

                  c.      On March 14, 2016, the Bankruptcy Court issued its memorandum

 decision granting in part and denying in part the motion to dismiss the Amended Complaint.

                  d.      On April 12, 2016, the Bankruptcy Court issued an Order (1) dismissing

 the Amended Complaint with prejudice as against Khronos LLC; (2) dismissing without

 prejudice Count One of the Amended Complaint, except to the extent Count One sought to avoid

 and recover fictitious profits allegedly transferred to or for the benefit of Legacy within two

 years of the BLMIS filing date.; and (3) dismissing without prejudice Counts Two through Seven

 of the Amended Complaint as against Legacy Capital Ltd.

                  e.      On May 16, 2016, Legacy Capital filed its answer to the Trustee’s

 Amended Complaint (the “Answer”).

         2.       Discovery Plan.

                  a.      Initial Disclosures. On November 13, 2015, the Parties served and

 exchanged initial disclosures.

                  b.      Document Requests. Requests for documents were served by the Trustee

 and Legacy Capital on January 29, 2016 and May 16, 2016, respectively. Responses and



 1
  The Amendments to the Federal Rules of Civil Procedure effective December 1, 2015 shall apply to this Proposed
 Case Management Plan.
                                                        2
08-01789-cgm         Doc 14604    Filed 12/13/16 Entered 12/13/16 11:21:42           Main Document
                                             Pg 3 of 7


 objections to the document demands were served by the Trustee and Legacy Capital on June 20,

 2016 and April 22, 2016, respectively. The Parties have worked in good faith to focus and

 narrow document productions and have commenced service of document productions.

 Additional requests for documents may be served as needed, provided they are served with

 sufficient time to respond before the Discovery Cut-Off Date, which is defined below.

                c.       Interrogatories.

                         (i)     In accordance with Local Bankr. Rule 7033-1(a), the Parties may
                                 serve interrogatories from May 20, 2016 until July 21, 2016.

                         (ii)    In accordance with Local Bankr. Rule 7033-1(b), the Parties may
                                 serve interrogatories from July 25, 2016 until October 21, 2016
                                 provided they are (i) a more practical method of obtaining the
                                 information sought than a request for production or a deposition, or
                                 (ii) ordered by the Court, as required by Local Bankr. Rule 7033-
                                 1(b).

                         (iii)   The Parties may not serve contention-based interrogatories in
                                 accordance with Local Bankr. Rule 7033-1(c), absent exceptional
                                 circumstances (such as a need to preserve testimony) or by
                                 agreement among the Parties.

                d.       Requests for Admission. The Parties may serve Requests for Admission

 as needed from May 20, 2016 until 30 days before the commencement of any trial in this matter.

                e.       Limitations On Discovery Imposed Under Federal Rules and/or Local

 Rules. Limitations on written discovery will be governed by the Federal Rules of Civil

 Procedure, as incorporated into the Federal Rules of Bankruptcy Procedure, and this Court’s

 Local Rules. The Parties may agree on certain limitations on discovery or may file an application

 with the Court for good cause. The Parties agree that they will work in good faith to identify the

 requisite number of each Party’s deponents and depositions.

                f.       Experts. Each Party that intends to offer expert testimony must make the

 disclosures required by Fed. R. Civ. P. 26(a)(2) on or before February 20, 2017. On November


                                                   3
08-01789-cgm      Doc 14604      Filed 12/13/16 Entered 12/13/16 11:21:42             Main Document
                                            Pg 4 of 7


 17, 2016, the Trustee served Legacy Capital with his expert disclosure of Bruce G. Dubinsky,

 MST, CPA, CFE, CVA, CFF, MAFF. Each Party that intends to offer expert testimony in

 opposition to such disclosures must make the disclosures required by Fed. R. Civ. P. 26(a)(2) on

 or before April 20, 2017. No expert testimony (whether designated as “rebuttal” or otherwise)

 will be permitted (i) by an expert that has not been disclosed in accordance with the Rules, and

 (ii) on any issue that is beyond the scope of the opinion covered by the disclosures except upon

 prior express permission of the Court, upon application made no later than May 4, 2017. All

 experts may be deposed, but such depositions must occur on or before June 20, 2017. The

 deadline for expert depositions will not affect the Parties’ duty to supplement expert disclosures

 as required by Fed. R. Civ. P. 26. All expert discovery must be completed by July 20, 2017.

        If the Trustee proffers an expert witness on an issue that is common to more than one

 avoidance action related to the SIPA Liquidation No. 08-01789 (“Avoidance Action”), the

 Trustee may coordinate the expert’s deposition in multiple Avoidance Actions to maximize

 efficiency and use of resources. The Trustee shall notify all interested Parties of the proposed

 date, time and location of any such coordinated expert depositions. In a coordinated deposition,

 the limitations set forth in Federal Rule 30(d)(1) shall not apply, and the Parties shall agree on an

 appropriate duration for the deposition.

                g.      Depositions. All depositions (excluding any expert depositions) must be

 completed by the Discovery Cut-Off Date. Depositions shall proceed concurrently, with no

 party having priority. The Parties will endeavor to conclude the majority of depositions within

 the seven hours provided by Federal Rule 30(d)(1), although the Parties acknowledge that there

 may be certain depositions that cannot be concluded within this time limit. The Parties will

 attempt in good faith to agree to reasonable extensions of the time limits as appropriate, and



                                                   4
08-01789-cgm           Doc 14604   Filed 12/13/16 Entered 12/13/16 11:21:42           Main Document
                                              Pg 5 of 7


 failing agreement any party may make application to the Court for an extension of those time

 limits.

           To the extent the deposition of any fact witness raises common issues relevant to other

 Avoidance Actions in the underlying bankruptcy proceeding in which initial disclosures have

 been made and discovery is open, the Trustee shall coordinate such depositions with the witness

 and defendants in such Avoidance Actions. The Trustee shall provide notice of such depositions

 under the Federal Rules of Civil Procedure and notify Defendants of the date, time and location

 of any such depositions. Such depositions shall not prejudice or preclude the Trustee from

 additional depositions of such witness in Avoidance Actions in which initial disclosures have not

 been made and discovery is not open. Depositions of the Trustee are prohibited absent an order

 issued by this Court upon a showing of good cause.

           All depositions of the Trustee’s witnesses shall be conducted at the offices of Baker &

 Hostetler LLP, 45 Rockefeller Plaza, New York, NY 10111, or such other location as the Parties

 may agree. Depositions of the Defendants’ witnesses shall be conducted at a location agreed

 upon by the Parties.

                  h.       Discovery Cut-Off. All fact discovery is to be completed by January 11,

 2017 (the “Discovery Cut-Off Date”).

                  i.       Manner of Production of Discovery Materials. The Parties may produce

 discovery, including initial disclosures, on a CD-ROM, in an electronic data room, or other

 similar electronic format. Given the volume of documentation that may be subject to disclosure

 in this matter, the Parties may produce a summary report, such as an expert report, and provide

 access to the underlying documentation on which the summary report relies in an electronic data

 room or other medium for review by the Parties. The Parties intend to enter into a protocol for



                                                   5
08-01789-cgm      Doc 14604      Filed 12/13/16 Entered 12/13/16 11:21:42              Main Document
                                            Pg 6 of 7


 the production of electronically stored information (ESI). Information and documents produced

 or made available electronically shall:

                        (i)     be text searchable;

                        (ii)    provide data and image load files necessary to review documents
                                on search platforms (i.e., Summation, Concordance, Relativity)
                                upon request of a Party;

                        (iii)   provide any system-created or non-privileged captured objective
                                metadata, such as date fields, author fields, custodian fields, path to
                                native file, etc.;

                        (iv)    be organized, such as by date, custodian, or subject matter, as
                                maintained in the ordinary course of business or as organized by
                                the Trustee;

                        (v)     provide additional formats of production, metadata, or native
                                documents if requested by a Party; and


        The Parties shall meet and confer first in a good-faith attempt to resolve any dispute, or

 thereafter comply with Local Bankr. Rule 7007-1 to resolve the dispute.

        3.      Proposed Modifications Of Standard Pretrial Proceedings Due To The Special

 Nature Of The Action. The Parties do not presently believe that any such modifications are

 appropriate or necessary, and will contact the Court if their belief in this regard changes.

        4.      Prospects For Settlement, Including Whether A Settlement Conference Should Be

 Scheduled And Whether The Parties Will Stipulate To The Trial Judge Acting As Settlement

 Judge. The Parties will notify the Court if they believe a settlement conference would be

 productive.

        5.      Summary Judgment Briefing: Any party wishing to make a motion for summary

 judgment must comply with Local Bankr. R. 7056-1(a) on or before July 20, 2017.




                                                   6
08-01789-cgm      Doc 14604      Filed 12/13/16 Entered 12/13/16 11:21:42              Main Document
                                            Pg 7 of 7


         6.     Any Other Matter That May Add To The Just And Expeditious Disposition Of

 This Matter. The Parties are not aware of any other matter that may add to the just and

 expeditious disposition of this matter.

         7.     Trial. The Parties propose that they will confer with each other and the Court at

 the conclusion of all discovery to schedule a final pre-trial conference and trial date.

         8.     Next Conference. The Parties shall appear before the Court on February 22,

 2017.

         9.     Parties and Counsel. The following Parties join in this proposed case

 management plan through their counsel.

 Date: New York, New York
       December 9, 2016


 /s/ Oren J. Warshavsky                          /s/ Nicholas F. Kajon
 Baker & Hostetler LLP                           Stevens & Lee, P.C.
 45 Rockefeller Plaza, 11th Floor                485 Madison Avenue
 New York, New York 10111                        New York, New York 10022
 Telephone: (212) 589-4200                       Telephone: (212) 537-0403
 Facsimile: (212) 589-4201                       Facsimile: (610) 371-1223

 Oren J. Warshavsky                              Nicholas F. Kajon
 Email: owarshavsky@bakerlaw.com                 Email: nfk@stevenslee.com
 Jason S. Oliver
 Email: joliver@bakerlaw.com                     Attorneys for Defendant Legacy Capital Ltd.

 Attorneys for Plaintiff Irving H. Picard,
 Trustee for the Substantively Consolidated
 SIPA Liquidation of Bernard L. Madoff
 Investment Securities LLC and the Estate
 of Bernard L. Madoff


 So Ordered This 12th Day of December, 2016


                                                 /s/ STUART M. BERNSTEIN
                                                 Honorable Stuart M. Bernstein
                                                 United States Bankruptcy Judge

                                                   7
